            Case 1:20-cv-06408-AJN Document 9 Filed 01/11/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                      1/11/2021



  Simpson,

                          Plaintiff,
                                                                               20-cv-6408 (AJN)
                  –v–
                                                                                    ORDER
  Keyser,

                          Defendant.



ALISON J. NATHAN, District Judge:

        On October 14, 2020, the Court ordered Petitioner to, within 60 days, either show cause

why his claims challenging the imposition of his Bronx County sentences should not be

transferred to the United States Court of Appeals for the Second Circuit as second or successive,

submit written notification to the Court of his withdrawal of his remaining claims for § 2254

habeas corpus relief, or submit an amended petition for a writ of habeas corpus under § 2254

containing the information specified above. Dkt. No. 8. Petitioner has not done so. Petitioner is

granted another 30 days to comply with the instructions in the order. Failure to comply may

result in dismissal for failure to prosecute.



        SO ORDERED.

 Dated: January 7, 2021
        New York, New York                       ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge
